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 1                               UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3
      FEDERAL TRADE COMMISSION,                        )
 4                                                     )
 5
                           Plaintiff,                  )
                                                       )    Case No.: 2:18-cv-00183-GMN-CWH
 6    vs.                                              )
                                                       )
 7    DONOR RELATIONS, LLC, et al.,                    )                     ORDER
                                                       )
 8
                           Defendants.                 )
 9                                                     )

10           Pending before the Court is the Motion to Dismiss, (ECF No. 8), filed by Defendants
11   Donor Relations, LLC and Courtesy Call, Inc. (collectively “Defendants”). Plaintiff Federal
12   Trade Commission (“the FTC”) filed a response, (ECF No. 12), and Defendants filed a reply,
13   (ECF No. 13). For the reasons discussed herein, Defendants’ Motion to Dismiss is DENIED.
14   I.      BACKGROUND
15           On February 1, 2018, the FTC concurrently filed a Petition to Enforce Civil
16   Investigative Demands and a Motion for Order to Show Cause as to why the Defendants should
17   not be required to comply with the civil investigative demands. (ECF Nos. 1, 2). Upon finding
18   good cause, the Court granted the Motion for Order to Show Cause and set a hearing for
19   February 20, 2018. (ECF No. 3). Additionally, the Court gave Defendants until February 9,
20   2018, to file any responses to the Order to Show Cause. (Id.). Prior to this response deadline,
21   Defendants filed a Motion to Dismiss based on lack of personal jurisdiction and improper
22   service.
23   II.     LEGAL STANDARD
24           Fed. R. Civ. P. 12(b)(5) authorizes a defendant to move for dismissal due to insufficient
25   service of process. “[U]nless the procedural requirements of effective service of process have
     been satisfied, the court lacks personal jurisdiction to act with respect to that defendant at all.”
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 1   Cambridge Holdings Group v. Federal Ins. Co., 489 F.3d 1356, 1361 (D.C. Cir. 2007). When
 2   a defendant challenges service, the Plaintiff bears the burden of establishing the validity of
 3   service. See Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004). In granting a Rule 12(b)(5)
 4   motion, the court may either dismiss the action without prejudice or retain the action and permit
 5   the plaintiff to cure the defects. See Montalbano v. Easco Hand Tools, Inc., 766 F.2d 737, 740
 6   (2d Cir. 1985).
 7   III.    DISCUSSION
 8           Defendants argue that the Court lacks personal jurisdiction because they were not
 9   properly served with a summons in accordance with Fed. R. Civ. P. 4. (Mot. to Dismiss 3:7–11,
10   ECF No. 8). In response, the FTC asserts that a court issued summons is not required in
11   subpoena enforcement proceedings because jurisdiction is obtained through service of the show
12   cause order and petition for enforcement. (FTC Resp. 5:15–6:2, ECF No. 12). Without
13   conceding this point, Defendants argue that service of the show cause order and petition for
14   enforcement nonetheless must be completed in accordance with Rule 4. (Defs.’ Reply 3:7–4:16,
15   ECF No. 13).
16           In the Ninth Circuit, a district court acquires personal jurisdiction in subpoena
17   enforcement proceedings “by service of the show cause order and the petition for enforcement
18   of summons.” United States v. Gilleran, 992 F.2d 232, 233 (9th Cir. 1993). While Defendants
19   correctly note that Rule 4 service is the default requirement, Rule 81(a)(5) provides that the
20   Federal Rules of Civil Procedure apply to summons-enforcement proceedings “except as
21   otherwise provided by statute, by local rule, or by court order in the proceeding.” Fed. R. Civ.
22   P. 81(a)(5). Accordingly, under Rule 81, a district court is plainly authorized to be flexible in
23   its application of the civil rules for initial service in subpoena enforcement actions.
24           Here, the Court’s Order to Show Cause stated that “a copy of this Order and copies of
25   [the] Petition and exhibits filed therewith, shall be served forthwith by Petitioner upon


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 1   Respondents or their counsel, using as expeditious means as practicable.” (Order 3:1–4, ECF
 2   No. 3). On February 6, 2018, the FTC filed proof of service indicating that the show cause
 3   order and petition were mailed via FedEx to Defendants’ respective business addresses and
 4   their registered agents. (ECF No. 7). Accordingly, the FTC perfected service in accordance
 5   with the Court’s Order, thereby vesting the Court with personal jurisdiction over Defendants.
 6   IV.    CONCLUSION
 7          IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss, (ECF No. 8), is
 8   DENIED.
 9                      16 day of February, 2018.
            DATED this _____
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11                                               ___________________________________
                                                 Gloria M. Navarro, Chief Judge
12
                                                 United States District Judge
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